Case 2:13-cv-03595-PBT Document 1 Filed 06/24/13 Page 1 of 13
Case 2:13-cv-03595-PBT Document 1 Filed 06/24/13 Page 2 of 13
Case 2:13-cv-03595-PBT Document 1 Filed 06/24/13 Page 3 of 13
Case 2:13-cv-03595-PBT Document 1 Filed 06/24/13 Page 4 of 13
Case 2:13-cv-03595-PBT Document 1 Filed 06/24/13 Page 5 of 13
Case 2:13-cv-03595-PBT Document 1 Filed 06/24/13 Page 6 of 13
Case 2:13-cv-03595-PBT Document 1 Filed 06/24/13 Page 7 of 13
Case 2:13-cv-03595-PBT Document 1 Filed 06/24/13 Page 8 of 13
Case 2:13-cv-03595-PBT Document 1 Filed 06/24/13 Page 9 of 13
Case 2:13-cv-03595-PBT Document 1 Filed 06/24/13 Page 10 of 13
Case 2:13-cv-03595-PBT Document 1 Filed 06/24/13 Page 11 of 13
Case 2:13-cv-03595-PBT Document 1 Filed 06/24/13 Page 12 of 13
Case 2:13-cv-03595-PBT Document 1 Filed 06/24/13 Page 13 of 13
